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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                         ATLANTA DIVISION

 In re:
                                                              Case No. 18-68814
                      EMBA Transportation, Inc.,              Chapter 11

            Debtor.


     EXPEDITED MOTION TO APPROVE POST-PETITION ACCOUNTS RECEIVABLE
                 FINANCING AND USE OF CASH COLLATERAL

                                      (Basis for Expedited Relief)
                  The Debtor requires accounts receivable financing to maintain its
                  operations. Without accounts receivable financing, the Debtor
                  will not have sufficient working capital to maintain its operations.
                  Due to the nature of the Debtor’s business and the Debtor’s
                  relationships with a certain customer, accounts receivable
                  financing is necessary to maintain positive cash flow.

          Debtor-in-possession, EMBA Transportation, Inc. (the “Debtor” or “EMBA”), through

undersigned counsel, moves for the entry of an Order authorizing it to obtain and continue

accounts receivable financing (the “DIP Financing”) from Freight Factoring Specialists, LLC

(“FFS” or “Lender”) to use cash collateral pursuant to the attached Order, and in support thereof

states as follows:

                                           JURISDICTION

1.        This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

2.        This is a core proceeding pursuant to 28 U.S.C. § 157(b).

3.        Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

4.        The statutory predicate for the relief requested in this Motion is 11 U.S.C. §§ 105 and 364

and Rule 4001 of the Federal Rules of Bankruptcy Procedure.
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                                         BACKGROUND

        A. General Background

5.    On November 6, 2018 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”). The

Debtor continues to operate its business and manage its property as a debtor in possession

pursuant to 11 U.S.C. §§ 1107(a) and 1108. No trustee, examiner or official committees have

been appointed in this case.

        B.     The Debtor’s Relationship with FFS

6.    Prior to the Petition Date, FFS and the Debtor entered into an Accounts Purchasing

Agreement dated April 6, 2017, a true and correct copy of which is attached hereto as Exhibit

“A” (the “Financing Agreement”).

7.     Pursuant to the Financing Agreement, FFS agreed to provide accounts receivable

financing to Debtor. Upon the sale of each invoice, FFS advances to the Debtor 95% of the face

value of each invoice.

8.     To continue its operations and maintain its cash flow, the Debtor requires accounts

receivable financing. The Debtor sells to its customers on net 30 day terms, but customers in the

industry regularly pay their invoices in 45 or 60 days.

9.     Thus, factoring allows the Debtor to access 95.0% of its accounts receivable in 24 to 72

hours and the balance upon payment of the invoice from the customer. Without this accounts

receivable financing the Debtor will lack access to sufficient working capital to expand its

manufacturing and sales efforts.
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10.    Debtor and FFS have agreed to grant, as adequate protection for any diminution in the

value of its prepetition collateral, and the proceeds thereof, and Cash Collateral, and the proceeds

thereof, a valid, perfected and enforceable first-priority security interest (the “Replacement

Liens”) in and upon all of the categories and types of collateral in which FFS held a security

interest and lien as of the Petition Date (the “Prepetition Collateral”), including, without

limitation, Cash Collateral, and the proceeds thereof (collectively, all of the collateral described

in this paragraph, the “Collateral”).

             LEGAL ARGUMENT AND CITATION TO LEGAL AUTHORITY

11.    The Debtor is unable to obtain financing on more favorable terms from sources other

than FFS. The Lender is vital to the Debtors continued post-petition business operations.

12.    Pursuant to 11 U.S.C. § 364 and Rule 4001 of the Federal Rules of Bankruptcy

Procedure, the Court may authorize the obtaining of credit. In the event the Debtor does not

obtain post-petition accounts receivable financing, it will not have the available funds with

which to continue business operations. Accordingly, the Debtor respectfully submits that

obtaining post-petition financing is necessary in order to avoid immediate and irreparable harm

to the Debtor.

13.    Section 363(c)(2) of the Bankruptcy Code provides that a debtor may not use, sell or

lease cash collateral unless each entity with an interest in such cash collateral consents or the

Court authorizes such use, sale or lease. Section 363(e) provides that the Court shall condition

such use of cash collateral as is necessary to provide adequate protection of such interests.

Section 363(p) provides that at a hearing on the use of cash collateral, the entity asserting an

interest in the cash collateral has the burden of proof on the issue of the validity, priority, or
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extent of such interest, and the debtor-in-possession has the burden of proof on the issue of

adequate protection.

14.    Debtor does not keep a revolving accounts receivable. Debtor invoices each customer

for each day’s work and are paid contemporaneously with sending the invoice. Other entities

with potential cash collateral interests include 800fund.com, 6th Avenue Capital, Retail Capital,

LLC, and New State Capital Partners. At the time of the filing of this motion, Debtor cannot

ascertain the priorities of each of the aforementioned creditors because the UCC-1 Financing

Statements utilize a servicing corporation that does not disclose the name of any creditor. But it

appears from the public record that FFS has a first priority security interest in Debtor’s pre-

petition accounts and accounts receivable.

15.    The Debtor submits that the proposed financing is in the best interest of the estate and its

creditors, given the fact that the Debtor does not have the ability to obtain other financing

elsewhere. The Debtor submits that the estate could not obtain more favorable financing than that

which is proposed in the time frame required to ensure uninterrupted cash flow.

16.    Debtor requests that the Court enter the attached proposed order draft by FFS as a

condition of their commitment to continue factoring to Debtor.

       WHEREFORE, the Debtor respectfully requests that the Court approve the proposed

financing and cash collateral protection pursuant to the attached Order, authorize the Debtor to

continue financing its accounts receivable with FFS and grant such other and further relief that is

just and proper.

       Dated: November 6, 2018



                                             Respectfully submitted,
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                                    /s/ Will Geer
                                    Will Geer
                                    Georgia State Bar No. 940493
                                    Wiggam & Geer, LLC
                                    50 Hurt Plaza, SE
                                    Atlanta, Georgia 30303
                                    T: (678) 587-8740
                                    F: (404) 287-2767
                                    wgeer@wiggamgeer.com
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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

 In re:
                                                            Case No. 18-68814
                      EMBA Transportation, Inc.,            Chapter 11

            Debtor.



 INTERIM ORDER APPROVING POST-PETITION FINANCING AGREEMENT, (B)
     GRANTING SECURITY INTERESTS AND ADMINISTRATIVE EXPENSE
    TREATMENT AND USE OF CASH COLLATERAL, AND (C) MODIFYING
      AUTOMATIC STAY, PURSUANT TO SECTIONS 362 AND 364 OF THE
                        BANKRUPTCY CODE


          THIS MATTER, having come regularly before the undersigned upon the motion of

EMBA Transportation, Inc. (the “Debtor”) for approval of post-petition financing of the Debtor

by Freight Factoring Specialists, LLC (“Secured Party”) and the granting of security interests

under Section 364 of the Bankruptcy Code (the “Motion”), and it appearing that the immediate

entry of this Order is essential to the continued orderly operation of the Debtor's business and is

in the best interest of the Debtor and the Debtor's estate, the following findings of fact are made

by the Court:


I. FINDINGS OF FACT

   1. On November 5, 2018(the “Petition Date”) the Debtor filed its voluntary petition for relief

pursuant to Chapter 11 of Title 11 of the United States Code.

   2. The Debtor and Secured Party are parties to a Factoring Master Agreement dated April 6,

2017 (the “Pre-Petition Agreement”), a copy of which is annexed hereto as Exhibit A, pursuant
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to which the Debtor has sold Accounts (as that term is defined in the Uniform Commercial Code)

from Secured Party on a secured basis.

   3. The Pre-Petition Agreement provides for advances by Secured Party to the Debtor, so long

such advances do not cause the ratio of the Debtor’s obligations to Secured Party to the value (as

determined in the Pre-Petition Agreement) of the Debtor’s eligible (as determined in the Pre-

Petition Agreement) accounts to exceed that set forth in the Pre-Petition Agreement (the

“Formula”).

   4. As of the Petition Date, the Debtor was indebted to the Secured Party in the amount of at

least $300.00 secured by the collateral described in the Pre-Petition Agreement.

   5. The Debtor has offered to assign and sell its accounts to Secured Party under the Pre-

Petition Agreement and Secured Party has agreed to consider making purchases of accounts and

advances to the Debtor pursuant thereto. All references to “accounts” shall have the meaning as

set forth in the Uniform Commercial Code.

   6. The Debtor, notwithstanding its efforts to do so, is unable to obtain unsecured credit

allowable under 11 U.S.C. Section 503(b)(1) as an administrative expense, or other than pursuant

to 11 U.S.C. Section 364(c) and 364(d)(1), and the Debtor is unable to obtain credit on terms

equal to or more favorable than those proposed by Secured Party.

   7. Secured Party has agreed to consider making purchases of accounts and advances to the

Debtor in accordance with the Pre-Petition Agreement in good faith, within the meaning of 11

U.S.C. Section 364(e), and the Interested Parties were either notified of the Motion, as evidenced

by the affidavit of service, or were present at this Court's hearing on the Motion.

   8. Good cause exists for approval of the Debtor’s agreement to agree to the financing by

Secured Party under the terms of the Pre-Petition Agreement, and the entry of this Order will
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minimize disruption of the Debtor as a “going concern” and is in the best interest of the Debtor,

its creditors, and its estate. The terms upon which the Debtor is authorized to utilize cash

advances are determined as fair under the circumstances.

   9. The Debtor has provided written notice of the filing of the Motion to Secured Party, the

United States Trustee, the Official Creditors’ Committee and its counsel, the twenty largest

unsecured creditors of the Debtor, all of the Debtor’s secured creditors, the Internal Revenue

Service, and all parties who filed requests for notice as evidenced by the affidavit of service filed

by the Debtor’s counsel with this Court, which notice this Court finds to be appropriate and

adequate under Federal Rules of Bankruptcy Procedure as required by Section 364 of the

Bankruptcy Code.

   10. The Debtor admits, without prejudice to the rights of an Official Committee of

Unsecured Creditors and third parties to challenge same to the extent set forth below, that as of

the Petition Date, in accordance with the Pre-Petition Agreement, the Debtor was indebted to the

Secured Party, without defense, counterclaim, recoupment or setoff, in the aggregate amount of

at least $300.00, secured by a valid, enforceable and properly perfected first priority lien in the

collateral described therein.

II. ORDER

       Based on the foregoing Findings, it is now therefore ORDERED as follows:

   1. All capitalized terms used in this Order, not otherwise defined herein and unless otherwise

indicated, shall have the meaning given them in the Pre-Petition Agreement.

   2. The Debtor is authorized, effective immediately, to sell accounts to the Secured Party on a

secured basis subject to the terms of the Pre-Petition Agreement, and to execute all documents

and take all actions to be executed and taken in connection with and in furtherance of all
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undertakings and obligations thereunder. The Secured Party is authorized, effective immediately,

to purchase accounts from the Debtor in is sole business discretion.

   3. The Debtor is authorized to ratify, and is deemed to have so ratified, the Pre-Petition

Agreement.

   4. The Debtor is authorized and empowered to incur secured indebtedness to Secured Party

pursuant to this Order and the Pre-Petition Agreement in such amounts as needed in the ordinary

course of its business and not for any purpose prohibited by law.

   5. Secured Party and Debtor may amend, modify, supplement, waive the provisions of and/or

extend the term of the agreements contemplated herein without further order of the Court

provided that same does not materially alter the provisions thereof.

   6. Secured party shall be granted a senior secured interest "Replacement Lien" in all of its

post-Petition Collateral to the same extend and priority as existed on the Petition Date, as

collateral for all post-petition obligations of the Debtor to Secured Party, including Secured

Party's attorneys' fees and expenses incurred in connection with the negotiation, documentation,

closing and enforcement of the Pre-Petition Agreement and the protection of Secured Party's

rights in this Bankruptcy Case (the "Obligations").

   7. In addition to the fees, costs, charges and expenses authorized under the Pre-Petition

Agreement, the Obligations shall constitute an administrative expense claim pursuant to Code

Section 364(c)(1) which shall have parity with any and all other administrative expenses of the

kind specified in Code section 503(b) and 507(b).

   8. For administrative convenience, Secured Party may record the pre-petition transactions

and the post-petition transactions arising under the Pre-Petition Agreement in one account, and

apply payments on a “first in, first out” basis.
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   9. The liens granted to Secured Party herein are deemed validly granted, duly attached, and

properly perfected, without the need of any additional actions being taken by or on behalf of

Secured Party, including but not limited to, the filing or recording of Uniform Commercial Code

financing statements; provided, however, that in the event Secured Party does make such a filing

or recordation, the Debtor shall execute all documents required by Secured Party to do so.

   10. The Debtor may use the proceeds of any advance under the Pre-Petition Agreement only

in accordance with any Order or applicable law.

   11. Nothing in the Pre-Petition Agreement, or in any of the documents executed in

connection therewith or this Order, shall give this Court the authority to require Secured Party to

purchase the Accounts of the Debtor, such being in the sole discretion of Secured Party.

   12. Secured Party is hereby afforded the protection of Section 364(e) of the Bankruptcy Code

with regard to the reversal or modification on appeal of this Order, or to the modification,

vacating, or other amendment of this Order by this Court.

   13. The Debtor shall comply with all provisions of Pre-Petition Agreement.

   14. To the extent that any provision of the Pre-Petition Agreement shall cause the Debtor to

be in default thereunder solely as a result of it being subject to the Bankruptcy Code or it being

insolvent, said provisions are waived by Secured Party.

   15. The Debtor shall not grant to any party any interest in the Collateral or priority in

payment prior to or equal with the lien or priority in payment hereby being accorded to Secured

Party.

   16. The entry of this Order and execution, delivery, and performance under the Pre-Petition

Agreement, or under any other documents executed in connection therewith, do not constitute a

compromise, waiver, or other relinquishment of any right of Secured Party at law, in equity or
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otherwise, including, but not limited to, any right of Secured Party to request and to obtain relief

under the Bankruptcy Code.

   17. The automatic stay provisions of 11 U.S.C. Section 362 are lifted and terminated to

enable Secured Party to implement the provisions of this Order and otherwise thereby to permit

Secured Party to demand and receive collections on account of the Collateral, and to apply those

collections to the Obligations. Notwithstanding the foregoing, the Secured Party is not hereby

granted relief from the automatic stay to enforce any remedies against the Debtor that may be

afforded under the Pre-Petition Agreement. In the event a Default occurs under the terms of the

Pre-Petition Agreement, Secured Party shall have a right to notice an expedited hearing before

this Court seeking such relief as may be deemed appropriate upon three days’ notice to counsel

for the Debtor; (ii) counsel for any statutory committee appointed herein or, alternatively, the

twenty largest unsecured creditors; (iii) the Office of the U.S. Trustee; and (iv) the United States

Attorney’s Office.

   18. The Debtor is authorized to use the Cash Collateral in accordance with this Order and

Pre-Petition Agreement until the earlier of (a) the failure of Debtor to perform any of obligations

under this Order or the Pre-Petition Agreement, (b) conversion of the Chapter 11 case to a case

under Chapter 7 of the Bankruptcy Code, or (c) payment in full of Secured Party Indebtedness,

including costs and expenses of Secured Party.

   19. The Debtor will not seek to surcharge the Secured Party or its collateral with any

expenses of the type described in Section 506(c) or 552(b) of the Bankruptcy Code unless it

obtained Secured Party’s prior written consent to the incurrence of such expenses.

   20. The Pre-Petition Agreement is enforceable according to its terms and nothing contained

therein is unlawful, unenforceable or violative of any usury or similar statute.
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   21. An event of default under this Order (“Default”) shall include the following:

       a. The Debtor's failure to perform or comply with any of the terms, conditions, or

covenants of this Order;

       b. Except for the Existing Defaults, the Debtor's failure to perform or comply with any of

the terms, conditions, or covenants of the Agreement;

       c. The termination of this Order by its own terms, operation of law or court order;

       d. The dismissal of this Bankruptcy Case;

       e. The appointment of a trustee under the Bankruptcy Code;

       f. The conversion of the Bankruptcy Case to a case under another chapter of the

Bankruptcy Code;

   22. Upon the occurrence of a Default, Secured Party shall provide the Debtor written notice

of such Default to the Debtor and counsel for the Debtor. If the Default is a type that is not

curable, or is curable by the Debtor and the Debtor fails to cure the Default within 48 hours from

the time of service of such notice of the Default, all of the following shall be deemed to have

occurred unless otherwise waived by Secured Party in writing:

       a. Secured Party’s consent regarding the Debtor's use of the Cash Collateral pursuant to

this Order is terminated without further notice;

       b. the Debtor shall not use any Cash Collateral for any purpose;

       c. the Debtor shall hold and segregate all Cash Collateral in trust for Secured Party and

       d. Secured Party shall be entitled to an expedited hearing on a motion for immediate

relief from the automatic stay under Section 362 within not less than two (2) Court days from the

date of the Default, subject to the Court’s calendar (the “Stay Relief Motion”). The only issue
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for consideration by the Court with respect to the Stay Relief Motion is whether a Default has

occurred.

   23. Notwithstanding anything to the contrary contained herein, neither the proceeds of any

advance from Secured Party, nor any Cash Collateral shall be used either: (a) in connection with

the investigation, assertion, commencement, or continuation of any action or claim against

Secured Party or (b) to object to or contest, or raise any defenses to the validity, perfection,

priority, or enforceability of any rights or claims of the Secured Party.

   24. The Debtor is authorized to use the Cash Collateral in accordance with the Budget,

attached hereto as Exhibit “A” (the line items of which the Debtor may modify by no more than

ten percent (10%) without authorization of FCB or this Court), and for payment of U.S. Trustee

fees or for other matters pursuant to orders entered by this Court after appropriate notice and

hearing, except that Debtor shall pay the actual amount owed to any utility, insurance payments,

or employee who is not salaried.

   25. This Order is without prejudice to Secured Party’s rights to pursue any and all rights and

remedies under the Bankruptcy Code, the Agreement, and any other applicable agreement or

law, including without limitation to seek relief from the automatic stay and/or to seek adequate

protection with respect to matters not covered by this Order, to seek an injunction, and/or to

object to applications for allowance and/or payment of compensation of professionals employed

by the Debtor or its estate. Secured Party’s acceptance and/or application of any payments by

the Debtor, or its Account Debtors, and the Debtor's payments to Secured Party pursuant to this

Order, shall not be deemed or construed as evidence or an admission of value of the Collateral

(in connection with Section 362 or 506 or otherwise), and shall not constitute a waiver of its
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rights to claim the difference, if any, between any payments received by Secured Party and the

actual contractual amounts due under the Agreements.

   26. This Order shall constitute an Interim Order.

   27. The obligations and indebtedness owed under the Pre-Petition Agreement are valid and

indefeasible obligations of the Debtor and its estate, in accordance with their terms; and the liens

and security interests in favor of Secured Party with respect to the Collateral are valid,

enforceable, perfected, and unavoidable under the Bankruptcy Code, including Section 552, and

any other applicable law.

Presented by:

/s/ Will Geer
Will Geer
GA Bar No. 940493
Wiggam & Geer, LLC
50 Hurt Plaza, SE
Suite 1245
Atlanta, Georgia 30328
wgeer@wiggamgeer.com
678-587-8740

Prepared and consented to by:

/s/ David Jencks
David J. Jencks
Jencks & Jencks, P.C.
121 North Egan Avenue
PO Box 442
Madison, South Dakota 57042
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EMBA Transportation, Inc.       Monthly Budget
Income                          $107,000
Building rent                   $4,500.00
Concentra (Health Insurance)    $1,350.00
Telephone                       $248.00
Fax                             $10.00
DAT-loadboard                   $199.00
Marketing                       $250.00
Office Supplies                 $400.00
Uniforms                        $250.00
Transflow                       $345.00
Verizon                         $435.00
Waste MGM                       $319.00
GA Power                        $1,524.00
Comcast                         $336.00
Water                           $85.00
Insurance                       $8,497.00
Scana Energy                    $190.00
Tires                           $2,900.00
Driver Pay                      $25,593.28
Fuel                            $19,265.20
Office Salaries                 $31,600.0
Total Expenses                  $98,296.48
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                                 CERTIFICATE OF SERVICE

       This is to certify that on this date I served a true and correct copy of the within and

foregoing   EXPEDITED        MOTION       TO     APPROVE         POST-PETITION   ACCOUNTS

RECEIVABLE FINANCING AND USE OF CASH COLLATERAL upon the following parties

by overnight mail, facsimile transmission, or electronic mail:

  Office of the U.S. Trustee         Commercial Credit Group         Freight Factoring
  362 Richard B. Russell             227 West Trade St.              Specialists, LLC
  Building                           Suite 1450                      3284 N. 29th Ct.,
  75 Ted Turner Drive, SW            Charlotte, NC 28202             Hollywood, FL 33020
  Atlanta, Georgia 30303
                                     Fax: 1-704-731-0030             c/o David Jencks
                                                                     davidjencks@jenckslaw.co
                                                                     m

  J&B Capital, LLC                   6th Avenue Capital              800fund.com, LLC
  1111 Northshore Drive P-270        420 Lexington Avenue 24th       30 Broad St 28th Floor
  Knowville, TN 37919                Floor                           New York, NY 10004
  Fax: (865) 249-6756                New York, NY 10170              iso@800fund.com
                                     bizsuccess@6thavenuecapita
                                     l.com




  Retail Capital, LLC                New State Capital Partners      Electronic Funds Source,
  d/b/a Credibly                     2001 Palmer Ave                 LLC
  1250 Kirts Blvd, Suite 100         Suite 205                       1104 Country Hills Drive
  Troy, MI 48084                     Larchmont, NY 10538             Suite 700
  customerservice@credibly.co        info@newstatecp.com             Ogden, UT 84403
  m                                                                  Fax: 801-624-3093
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 Georgia Department of         Internal Revenue Service    Pilot Travel Centers, LLC
 Revenue                       Centralized Insolvency      c/o The Corporation Trust
 Compliance Division           Operation                   Company
 ARCS - Bankruptcy             Post Office Box 7346        CORPORATION TRUST
 1800 Century Blvd NE, Suite   Philadelphia, PA 19101-     CENTER
 9100                          7346                        1209 ORANGE ST.
 Atlanta, GA 30345-3202        Fax: 267-941-1015           Wilmington, DE 19801
 Fax: 404-417-2101                                         sales@pilottravelcenters.co
 BHeinz@law.ga.gov                                         m
 Help, Inc.                    First Insurance Funding     Comdata
 510 Parkland Drive            Corp.                       5301 Maryland Way,
 Sandy, UT 84070               450 Skokie Boulevard, Suite Brentwood, TN 37027
 prepassupdates@prepass.com    1000                        Fax: 615-370-7614
                               Northbrook, IL 60062
                               Fax: 800-837-3709



 Unifi Equipment Finance       Murphy-Hoffman Company,     Verizon Connect Reveal
 3893 Research Park Dr.        Inc.                        2002 Summit Blvd
 Ann Arbor, MI 48108           1524 North Corrington       Suite 1800
 Fax: 800.968.2808             Street, Kansas City, MO     Atlanta, GA 30319
                               64120                       reveal.support@fleetmatics.
                               Fax: 816-483-5842           com



 Penske Truck Leasing Co.,     Quality Leasing             Ryder, Inc.
 L.P.                          9702 East 30th Street,      11690 NW 105th Street
 Route 10 Green Hills          Indianapolis, IN 46229      Miami, FL 33178
 PO Box 391                    contact@qualityco.com       customer_service-
 Reading, PA 19603                                         us@ryder.com
 Fax: 610-775-6432
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 Axon Development                   Georgia Power Company         SCANA Energy
 Corporation                        241 Ralph McGill Blvd NE,     P.O. Box 100157
 c/o The Company Corporation        Bin 10180, Atlanta, GA, GA,   Columbia, SC 29202-3157
 251 Little Falls Drive             30308-3374                    janet.reyes@scana.com
 Wilmingon, DE 19808                bscgpc@southernco.com
 info@axonsoft.com



 Sterling National Bank
 400 Rella Blvd, Montebello,
 NY 10901
 Fax: 516-327-7290




This 6th day of November, 2018.

      /s/ Will B. Geer
      Georgia State Bar No. 940493
      Wiggam & Geer, LLC
      50 Hurt Plaza, SE
      Suite 1245
      Atlanta, Georgia 30303
      T: (678) 587-8740
      F: (404) 287-2767
